
A writ of mandamus will not be issued unless there is a clear showing of error on the part of the trial court. Ex parteRosebusch, Inc., 558 So.2d 356 (Ala. 1990). Having studied the complaint; the motion to dismiss, with the attached affidavit of Charles E. Sekeres; and the deposition of Sekeres offered in the case of Allen v. Physicians Weight Loss Centers
(CV-89-001969, Mobile Circuit Court), I cannot hold at this stage of the proceeding that the petitioner has made a clear showing of error on the part of the trial court (Ex parteRosebusch, Inc.) or that the petitioner has a clear and undisputable right to the relief sought. It may well be that inpersonam jurisdiction of Sekeres exceeds the limits of due process, but I cannot say, based upon the record now before this Court, that the trial court clearly erred in denying the motion to dismiss or that Sekeres has a clear and undisputable right to be dismissed from this action.